       Case 1:02-cr-00022-MP         Document 536        Filed 03/26/09   Page 1 of 1


                                                                                     Page 1 of 1


                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                           CASE NO. 1:02-cr-00022-MP-AK

THAD M PEMBERTON,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 535, Motion Terminate Supervised Release, by

Thad M Pemberton. After consultation with the government and the probation office, the Court

determines that the motion should be granted. It is hereby

       ORDERED AND ADJUDGED:

       The Supervised Release of Thad Pemberton is terminated and Mr. Pemberton is no
       longer subject to supervised release.

       DONE AND ORDERED this 26th day of March, 2009


                                      s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
